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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE

Effective October 5, 2015 – In addition to filing this motion in ECF, the proposed admittee
must also apply for “Pro Hac Vice” admission through his or her PACER account if he or
      she has not been previously admitted pro hac vice to the District of Minnesota.

Case Number:      19−cv−02727

Case Title: Gisairo v. Lenovo (United States) Inc.

Affidavit of Movant

I, David A. Goodwin, an active member in good standing of the bar of the U.S. District Court for
the District of Minnesota, request that this Court admit pro hac vice Kevin Landau, an attorney
admitted to practice and currently in good standing in the U.S. District Court for the Southern
District of New York, but not admitted to the bar of this court, who will be counsel for plaintiff
Martin Gisairo in the case listed above. I am aware that the local rules of this court require that
an active Minnesota resident, unless the court grants a motion for a non-Minnesota resident to
serve as local counsel, who is a member in good standing of the bar of this court participate in
the preparation and presentation of the case listed above, and accept service of all papers served.

Check one of the following:

☒ I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

☐ I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

       Signature: s/David A. Goodwin                        Date: October 17, 2022

       MN Attorney License #: 0386715




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Affidavit of Proposed Admittee

I, Kevin Landau, am currently a member in good standing and admitted within the U.S. District
Court for the Southern District of New York, but am not admitted to the bar of this court. I
understand that if this Court grants me admission pro hac vice, the moving attorney identified in
this motion must participate in the preparation and presentation of the case listed above, and
must accept service of all papers served as required by LR 83.5(d). I further understand that the
District of Minnesota is an electronic court and that I consent to service required by Fed. R. Civ.
P. 5(b) and 77(d) by electronic means and I understand that electronic notice will be in lieu of
service by mail.

Signature: s/Kevin Landau                                   Date    October 17, 2022

Typed Name: Kevin Landau

Attorney License Number:      2835668 issued by the State of        New York

Law Firm Name:      Taus, Cebulash & Landau, LLP

Law Firm Address:     123 William Street, Suite 1900A

                      New York, NY 10038

Main phone:           646.873.7654

Direct line:          646.873.7654

E-mail address:       Klandau@tcllaw.com

This motion must be converted to a PDF and then electronically filed in the case. The Pro Hac
Vice motion fee of $100 must be paid when filing this motion in CM/ECF through Pay.gov.
You will not be able to complete the filing of this motion without paying the motion fee
through Pay.gov. Pay.gov is an electronic system of the U.S. Department of the Treasury that
allows users to make secure electronic payments to federal government agencies. Payments can
be made directly from a checking or savings account or by using a credit or debit card.

PLEASE NOTE IN ADDITION to filing this motion in the case and paying the fee, the
proposed admittee MUST also apply for “Pro Hac Vice” Admission to the District of
Minnesota through his or her individual upgraded PACER ACCOUNT. This last step only
needs to be completed the first time a proposed admittee is admitted Pro Hac Vice to the District
of Minnesota. For detailed step by step instructions, click here.

       For questions, please email the ecf help desk at ecfhelpdesk@mnd.uscourts.gov or
                    contact an Attorney Admissions Clerk at 651-848-1100.



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